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4
5                      IN THE UNITED STATES DISTRICT COURT
6                    FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8    UNITED STATES OF AMERICA,      )
                                    )          CR. No. S-04-0104 DFL
9                   Plaintiff,      )
                                    )           ORDER
10             v.                   )
                                    )
11   MARK STEVEN ERCKERT,           )
                                    )
12                  Defendant.      )
     _______________________________)
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14        On February 24, 2006, this matter came before the Court for an
15   evidentiary hearing on the defendant’s motion to suppress his
16   statement, based upon an alleged Miranda violation by agents
17   executing a search warrant of the defendant’s home.         The United
18   States was represented by Assistant U.S. Attorneys Philip Ferrari
19   and Jason Hitt; the defendant was represented by Krista Hart, Esq.
20        At the hearing, the government offered the testimony of five
21   law enforcement officers who participated in the execution of the
22   search warrant, including Drug Enforcement Administration Special
23   Agent Brian Keefe and Placer County Special Investigations Unit
24   Agent Brandon Olivera.     The government also offered various reports
25   written by agents concerning the execution of the search and the
26   defendant’s statements, as well as a written Miranda waiver signed
27   by the defendant.    The defendant offered the testimony of Ms. Doris
28   Jones, who shared the defendant’s residence and was present when the

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1    search was executed.     Two minors were also present during the
2    execution of the search.     The defendant also offered the testimony
3    of Deborah Martell.    Ms. Martell testified that she approached the
4    defendant’s residence on the morning of the search and heard him ask
5    her to make contact with a person named “Justin,” who was identified
6    as the defendant’s attorney in an unrelated matter.
7         Following the receipt of evidence and argument by counsel, the
8    Court DENIED the motion for reasons set forth orally and made part
9    of the record.   A copy of the portion of the transcript
10   memorializing that ruling and the findings it is based upon is
11   attached to this Order as Exhibit A.
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13        IT IS SO ORDERED.
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     Date: 3/9/2006
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19                                          DAVID F. LEVI
                                            United States District Judge
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